UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

x
Docket No
BRITTANY HAMILTON, RICHETTA GREENE,
and DAVONE GREENE, 1T-cv-6384(CBA)(SIB)
Plaintiffs,
AMENDED
against COMPLAINT

THE CITY OF NEW YORK, NEW YORK CITY
POLICE DEPARTMENT, DETECTIVE LOUIS

SCARCELLA, Individually and in his capacity as a
New York City Police Officer, DETECTIVE FRANK
DELOUISA, Individually and in his capacity as a
New York City Police Officer, INVESTIGATOR
JOSEPH PONZI, Individually and in his capacity as
an investigator for the Kings County District
Attorney’s Office,

Defendants,
x

 

Plaintiff(s), by their attorneys, CAITLIN ROBIN AND ASSOCIATES, PLLC, as and
for their Verified Amended Complaint, upon information and belief, alleges the following:

1. At all times hereinafter mentioned, the Brooklyn District Attorney's Office
was located in the County of Kings, State of New York.

2. Atall times set forth herein, the plaintiff Richetta Greene was the lawfully

wedded husband of Derrick Hamilton.

3, At all times set forth herein, the plaintiff Brittany Hamilton was the natural

born daughter of Derrick Hamilton.

4, Atall times set forth herein, the plaintiff Davone Greene was the natural born

son of Derrick Hamilton

5. The instant action arises out of the false arrest, malicious

 
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prosecution, wrongful conviction and wrongful imprisonment of Derrick Hamilton.

6. The details giving rise to the conviction are discussed at length in Peoplev.

Hamilton, 115 AD3d 12 (2"4 Dept. 2014).

7. The plaintiffs in the above action filed a notices of claim with the
City of New York on or about April 2, 2015. No demand for a 50-H hearing was ever sent by the
City of New York, New York Police Department or Kings County District Attorney's Office.

JURY DEMAND

8. Plaintiff hereby demands trial by jury ofall issues raised in this

Complaint.
OVERVIEW

9. The case arises out of the wrongful conviction of the plaintiffs'
father and husband, Derek Hamilton.

10. Derek Hamilton was charged, convicted and ultimately exonerated
for the shooting death of Nathaniel Cash. The shooting occurred on January 4, 1991,

11. Atthe time of the shooting Derek Hamilton was in NewHaven,

Connecticut.

12. Detective Frank DeLouisa investigated the shooting. There was a sole witness to
the shooting, one Jewel Smith. Ms. Smith told Det. DeLouisa that she did not see theshooter.
13. However, DeLouisa and Det. Scarcella took Ms. Smith into custody and threatened
and coerced Ms. Smith to identify Derek Hamilton as the shooter. Specifically, Scarcella
threatened to violate Ms. Smith's parole and take her children away if she did not identify Mr.

Hamilton as the shooter.
14. On or about March of 1991, Detective Scarcella and another NYPD individual
showed up at Richetta Greene’s mothers house located at 415 Lafayette Avenue, Apt 11B,
Brooklyn, New York.

15. Inthis March 1991 incident, Detective Scarcella said in sum and substance, “Do
you know where Detrick is? Are you aware that Derrick killed someone? Are you aware your
husband is a murderer? Were looking for Derrick because he was involved in an incident where
Nathaniel Cash got killed in an altercation involving Nate’s girlfriend. Derrick shot him and killed
him. You should know what type of guy you are dealing with, he is a murderer, he is dangerous,
he killed this guy. This is not Derrick’s first brush with the law.” Richetta Greene was pregnant
with Derrick’s daughter, Brittany, at the time of this incident at her mothers house involving
Detective Scarcella and another NYPD individual. Detective Scarcella’s conduct in threatening
Richetta Greene shocks the conscious and depicts an effort to intentionally interfere with their
familial relationship. In and around March 1991, both Detective Frank DeLouisa and Investigator
Joseph Ponzi further visited the Hamilton home and approached Richetta Greene with statements
further indicating that Derrick Hamilton was a murderer, a threat, and could not be trusted. This
ongoing intimidation was an intentional effort by the Detective and Investigator to intimidate the
Plaintiff, deprive her of the right to her spousal relations, and also a means by which they could
intentionally alienate the infant Davone Greene in an effort to secure coerced testimony. This
conduct shocks the conscious and shows intentional conduct on behalf of these named defendants.

16. Davone Greene, an 8 year old boy at the time, was present during the interaction
between Detective Scarcella and Richetta Green. Davone saw Detective Scarcella yell at his

mother, insult his father, and point his finger in their faces. Davone was visibly upset and shaken
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after Detective Scarcella and the other NYPD officer left the residence.
17. Thereafter, Mr. Hamilton was arrested and indicted for murder.

18. During the course of his defense, Mr. Hamilton identified Kim Freeman and
Alphonso Dixon of New Haven, Connecticut as alibi witnesses who would have testified, inter
alia, that Mr. Hamilton was in New Haven, Connecticut at the time of the shooting death of
Mr. Cash.

19. P.O. White, acting at the behest and in concert with Det. Scarcella intimidated
those witnesses in New Haven, Connecticut thereby ensuring they would not appear in court
during Mr. Hamilton's murder trial.

20. Based solely on the coerced testimony of Jewel Smith, and without the
exculpatory alibi witness testimony of Freeman and Dixon, Mr. Hamilton was
found guilty of second degree murder and sentenced to 25 years to life in prison.

21. After the conviction, Mr. Hamilton was transferred to prison and
was not released until December 7, 2011.

22. During his time in prison, and due to the efforts of the
defendants to secure the wrongful conviction, Mr. Hamilton became
estranged from his children and his wife.

23.  Derrick’s kids, Davone Greene and Brittany Hamilton, blamed

Detrick for being in jail.
24.  Derrick’s kids resented Derrick for being in jail.
25. Derrick’s kids did not have a father around growing up.

26. — Richetta Greene did not have a husband around, or a partner to

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raise her children.

27. As aresult Richetta Greene has suffered a loss of consortium in that she has been deprived
of the familial relationship including the care, sexual relations, companionship, household help, financial

support, emotional support, and love of her husband.

28. On January 9,2015, the Kings County Supreme Court granted Mr. Hamilton's
CPL §440.10 motion and vacated his conviction and dismissed the indictment entirely based
on Mr. Hamilton's claim of actual innocence.

FACTUAL BACKGROUND

29. On January 4, 1991 around 11 amin Brooklyn, New York, Nathaniel
Cash was shot to death. At the same time in New Haven, Connecticut, Derek Hamilton was
meeting with talent agent Kelly Turner and her assistant Davette Mahan.

30. Det. DeLouisa responded to the scene of the shooting an
encountered the victim's girlfriend, Jewel Smith, given name being Karen Smith. Ms. Smith, at the
scene of the shooting, gave Det. DeLouisa a statement saying she did not witness the shooting and
was in anearby store when the shooting occurred.

31. Another individual named Taseem Douglas was also at the scene of the
shooting Det. DeLouisa did not attempt to obtain a statement from Mr. Douglas.

32. Although Ms. Smith did not witness the shooting, DeLouisa brought herto
an NYPD precinct. At the precinct, Ms. Smith was confronted by Det. Scarcella. He
specifically threatened to violate her parole (for consorting with a known felon Mr. Cash)
and take her children away if she did not identify Mr. Hamilton. Ms. Smith reluctantly

implicated Mr. Hamilton.
33. Once Ms. Smith implicated Mr. Hamilton, the Kings County District Attorney
(hereinafter KCDA) became involved with the case. The KCDA assigned an investigator Joseph
Ponzi to ensure that Ms. Smith maintained her story. Mr. Ponzi even testified that it was his part of his
job to hold reluctant witnesses to their story. Ms. Smith testified atthe grand jury andimplicated Derek
Hamilton, and as a result, he was indicted for the Murder of Mr. Cash.

34. Through the coercion of Ms. Smith, she gave perjured testimony to the
grand jury. This perjured testimony and false identification caused Mr. Hamilton to be
indicted and arrested without probable cause.

35. In March of 1991, Detective Scarcella and another NYPD individual

showed up at Richetta Greene’s mom house with the intention of alienating Derrick’s entire family
from him by spreading lies that he was a murderer.
36. Detective Scarcella specifically told Richette Green that Derrick was a

murderer, and that he killed Nathanial Cash, at 415 Lafayette Avenue, Apt 11B. This was an intentional

effort to destroy the right to familial relationship.
37. After being arrested, Mr. Hamilton filed the notice of alibi
witnesses. Detective Scarcella and Officer White then purposefully and intentionally
intimidated Mr. Hamilton's alibi witness and made them unavailable for the time of trial.
38. Specifically, White visited Alphonso Dixon and told him he would
die in prison if he testified at Hamilton's trial. Since Mr. Dixon was an informant for Officer
White, this threat carried particular weight. White also visited other potential alibi witnesses and
intimidated them to prevent them from appearing at the trial.

39. After giving grand jury testimony, Ms. Smith, via an attorney, George
Sheinberg,Esq., recanted her testimony. However, Ponzi and Scarcella obtained a material
witness order and hadher forcibly relocated. Thereafter, whenever Ms. Smith attempted to
recant, Ponzi and Scarcella would threaten Ms. Smith that they would take away her children .

if she changed her testimony.

40. Ms. Smith testified that Mr. Cash was shot inthe vestibule ofa
building. There was no blood spatter in the vestibule of the building where he was allegedly shot.
41. Mr. Taseem Douglas, who was at the scene of the shooting when
DeLouisa arrived, actually could have identified the shooter. Specifically, "Money" Will Dawson
was one of the shooters and actually threatened Ms. Smith at the scene of the shooting.
42. Since DeLouisa, Scarcella and Ponzi coerced the statement and testimony
from Ms. Smith, the prosecutor was never advised about her statement at the scene that she did
not witness the shooting. Uponinformation and belief, since theprosecutor wasnever advised
thatKarenSmith was the given name of Jewel Smith, her prior statement was never
provided to defense counsel in violation of the prosecutor's duty under Brady v. Maryland,
373 US 83 (1963). This allowed the prosecutor to argue that Ms. Smith had identified Mr.
Hamilton as the shooter at the scene, which was a fabrication coerced by DeLouisa, Scarcella
and Ponzi. \
43. Asaresult of the coerced testimony of Ms. Smith, Mr. Hamilton
was convicted of murder. There was no physical evidence, ballistic evidence, corroborating

evidence or any other basisforthe conviction other than thefabricated testimony coerced by

DeLouta, Scarcellaand Ponzi.
44. After the conviction, but before the sentencing, Ms. Smith signed

an affidavit recanting her testimony. She also testified, under oath, that her trial testimony was

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false and itwas coerced because of threats by Ponzi and Scarcella.

45.  Scarcella also testified. He perjured himself and denied coercing her and

instead claimed that her recantation was due to fear of retribution by Hamilton's family.

46. On April 2, 1996 the court held a 440 hearing. At that hearing,
Taseem Douglas testified that he saw the shooting and that the shooters were Money Will
Dawson and Amir Yaya Johnson, Inresponse, Officer White and Scarcella conspired witheach

otherand fabricated evidence to discredit Mr. Douglas on a collateral matter and again presented

false testimony to the hearing coutt.

47, Mr. Douglas's testimony is corroborated by Ms. Smith's testimony that
Dawson was atthe scene after the shooting. Additionally, DeLouisa also acknowledged that
Dawson was at the scene afterthe shooting. Furthermore, the ballisticevidence shows that Cash
was shot withtwo guns in the back, as he fled the apartment building, all consistent with Mr.

Douglas's testimony.

48. Additionally, Mr. Hamilton's alibi is corroborated by New Haven Police
Officer Kelly Turner and Davetter Mahon, an ordained minister. Furthermore, there is
evidence that Mr. Dixon rented a room at a Quality Inn in New Haven, which corroborates
Mr. Hamilton's alibi that he was at a party inNew Haven the night before the shooting as

well.
49. Thus, there is substantial evidence that Mr. Hamilton was actually

innocent of this crime, his conviction notwithstanding.
50.  In2007, officer White pleaded guilty'to bribery and stealing FBI

money ina sting operation, He was sentenced to 37 to 46 months in prison and paid a fine and

restitution.
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51. The past two years, substantial allegations about the investigative
methods of Louis Scarcella have been uncovered, Asa result of what can only becalled corrupt
practices by Scarcella, over 5 murder convictions have been overturned and over 70 convictions are

being reviewed by the Kings County District Attorneys Office.
52. OnJanuary 9, 2015, the Kings County District Attorney, represented by

Mark Hale, stated the following in support of their conclusion that Mr. Hamilton's

conviction should be vacated:
As the court knows, the proceeding that was before the court
was delayed for sometime because the conviction review unit
of the district attorney's office was investigating the case at
the request of Mr. Hamilton. This investigation has taken the
better part of the last year.
As aresult of the investigation, your Honor, we found that in
this particular case, the sole eyewitness against Mr. Hamilton
at trial, in analyzing her testimony and her statement, the
People have determined - the conviction review unit has
determined that sheis, asawhole, unreliable, incredible and for
the most part untruthful. And because she was unreliable,
untruthful and incredible in her testimony against Mr.
Hamilton being the sole eyewitness, they had to depend upon

her credibility in order to convict Mr. Hamilton.
Because of that, Mr. Hamilton's due process rights were
violated by the use of this witness at trial because of the nature
of her inconsistency and incredibility. As a result, the district
attorney has determined the conviction against Mr. Hamilton
cannot stand, it should be vacated.

53. Judge Guzman of the Supreme Court of Kings County granted
Hamilton's 440 motion and the People's application, and vacated Mr. Hamilton's
conviction and dismissed the indictment causing the instant claims to accrue.

54, Defendants’ systematic misconduct caused Plaintiffs to suffer a
tragic deprivation of a husband and father who will never be the same. Defendants
took Derrick Hamilton away from Plaintiffs, framed him for a murder he not commit,
and locked him away for over 23 years, dramatically altering the course of Plaintiffs’
lives and who they each are as human beings, all in violation of their well-established
constitutional rights to familial association and access to courts.

55, During Mr. Hamilton's incarceration, his relationship with his children was
virtually non-existent. Furthermore, hisrelationship with his wife was also virtually non-
existent. Asaresult of the defendants wanton and malicious conduct, the plaintiffs suffered
severe familial discord and the loss of services of a father and husband.

STATEMENT OF
JURISDICTION

56. Jurisdiction is vested with this court because the causes of action
on behalf of the plaintiffs arise under the law of the constitution under 28 USC

§1331 and 42 U.S.C. § 1983.

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57. Supplemental jurisdiction over Plaintiffs’ pendent state law claims
exists pursuant to 28 U.S.C. § 1367(a).
Cause of Action 1 by.
Richetta Greene 42 USC
1983 Deprivation of Liberty
Under the Fourth and
Fourteenth Amendments
58. Theplaintiffs repeat andreallege each andeveryallegationcontained
inparagraphs 1-57 as though set forth fully herein.
59, At all times hereinafter mentioned, the plaintiff Richetta Greene was
the lawfully wedded wife of Derrick Hamilton.

60. The plaintiff Richetta Greene has a constitutionally protected

right to familial companionship and society.

61,  Theplaintiffs constitutionally protected right to familial
companionship and society was deprived by the defendants conduct. Defendants
conduct was intentional and egregious in nature.

62.  Asaresult of the defendants unwarranted and intentional
interference with the plaintiffs constitutionally protected right to familial
companionship and society, her substantive due process rights were denied.

63. The plaintiff Richetta Greene suffered damages as a result ofthe

deprivation of her substantive due process rights.

Cause of Action 2 by Brittany
Hamilton 42 USC 1983
Deprivation of Liberty Under the
Fourth and Fourteenth

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Amendments
64. ‘Theplaintiffs repeat and reallege eachand every allegation contained
In paragraphs 1-63 as though set forth fully herein.

65.  Atall times hereinafter mentioned, the plaintiff Brittany Hamilton
was the natural born daughter of Derrick Hamilton.

66. The plaintiff Brittany Hamilton has a constitutionally protected
right to familial companionship and society

67. The plaintiffs constitutionally protected right to familial
companionship and society was deprived by the defendants conduct. Defendants
conduct was intentional and egregious in nature.

68.  Asaresult of the defendants unwarranted interference with the
plaintiffs constitutionally protected right to familial companionship and society, her
substantive due process rights were denied.

69.  ‘Theplaintiff Brittany Hamilton suffered damages as a result of the
deprivation of her substantive due process rights,

Cause of Action 3 by Davone
Greene 42 USC 1983 Deprivation
of Liberty Under the Fourth and
Fourteenth Amendments
| 70.  Theplaintiffsrepeat andreallege eachand every allegation contained
In paragraphs 1-69 as though set forth fully herein. |

71. ~~ Atall times hereinafter mentioned, the plaintiff Davone Greene

was thenatural born son of Derrick Hamilton.

72. The plaintiff Davone Greene has a constitutionally protected right to familial

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companionship and society. Defendants conduct was intentional and egregious in nature.
73.  Theplaintiff's constitutionally protected rightto familial
companionship and society was deprived by the defendants conduct.
74,  Asaresult of the defendants unwarranted interference with the
plaintiffs constitutionally protected right to familial companionship and society, his

substantive due process rights were denied.

75. The plaintiff Davone Greene suffered damages as a result of

the deprivation of his substantive due process rights.
Cause of Action 4 by All
Plaintiffs Intentional
Infliction of Emotional
Distress

76. Brittany Hamilton, Richetta Greene, Davone Greene, hereby incorporate by
reference all of the foregoing paragraphs and further allege as follows:

77. Defendants engaged in, instigated, and directed a course of extreme and
outrageous conduct with the intention of causing, or reckless disregard of the probability of
causing emotional distress to Plaintiffs. As a result of Defendants’ actions, Plaintiffs suffered and
continue to suffer severe emotional distress in the form of countless sleepless nights, night
terrors, feelings of helplessness, suicide attempts, bullying, as well as being shunned by society
as the wife and children of a murderer.

78. These acts caused Brittany Hamilton, Richetta Greene, Davone Greene to

suffer the damages set forth above.

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Cause of Action 5 by All
Plaintiffs Negligent Infliction of
Emotional Distress

79. Brittany Hamilton, Richetta Greene, Davone Greene hereby incorporate by
reference all of the foregoing paragraphs and further allege as follows:

80. Defendants owed a duty of care to the Plaintiffs to act with reasonable care and
breached that duty when they wrongfully arrested and imprisoned Derrick Hamilton and lied to
plaintiffs regarding his guild, thereby denying the Plaintiffs of their relationship with their
husband and father. In denying the Plaintiffs a relationship with Derrick Hamilton, the Plaintiffs
suffered and continue to suffer severe emotional distress in the form of countless sleepless
nights, night terrors, feelings of helplessness, suicide attempts, bullying, as well as being
shunned by society as the wife and children of a murderer.

81. Defendants’ actions resulted in the direct and immediate harm to the Plaintiffs as
their family was completely destroyed by the wrongful conviction of Derrick Hamilton. The
actions of Detectives Scarcella, DeLouisa and Ponzi were intentional acts to alienate and destroy
the familial relationship.

82. These acts caused Brittany Hamilton, Richetta Greene, Davone Greene to suffer
the damages set forth above.

Cause of Action 6 by All Plaintiffs

Negligent Hiring, Training, and

Supervision Under State Law against
Defendant City of New York

83. Plaintiffs Brittany Hamilton, Richetta Greene, Davone Greene hereby incorporate
by reference all of the foregoing paragraphs and further allege as follows:

84, By virtue of the foregoing, defendant City of New York is liable to plaintiffs

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because of its intentional, deliberately indifferent, careless, reckless, and/or negligent failure to
adequately hire, train, supervise, and discipline its agents, servants and/or employees employed by

the NYPD with regard to their aforementioned duties, and for negligent retention of same.
Attorneys’ Fees
85. Pursuant to 42 USC §1988, in the event they prevail in this
action, plaintiffs are entitled to attorneys' fees in an amount determined by the

court.

WHEREFORE, plaintiffdemands judgment against the defendantsjointly and
severally in an amount to be determined at trial, together with the costs and

disbursements of this action.

Yours, etc.,

 

Caitlin Robin, Esq.

CAITLIN ROBIN & ASSOCIATES, PLLC
Attorneys for Plaintiff(s)

30 Broad Street

Suite 702
New York, NY 10004
(646)-524-6026

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Docket No. 17-cv-6384(CBA)(SJB)
UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK

 

BRITTANY HAMILTON, RICHETTA GREENE, and DAVONE GREENE,
Plaintiffs,
-against-

THE CITY OF NEW YORK, NEW YORK CITY POLICE DEPARTMENT,
DETECTIVE LOUIS SCARCELLA, Individually and in his capacity as a New York City
Police Officer, DETECTIVE FRANK DELOUISA, Individually and in his capacity as a
New York City Police Officer, INVESTIGATOR JOSEPH PONZL, Individually and in his
capacity as an investigator for the Kings County District Attorney’s Office,

Defendants.

 

AMENDED COMPLAINT

 

CAITLIN ROBIN & ASSOCIATES, PLLC
Attorneys for Plaintiffs
BRITTANY HAMILTON, RICHETTA GREENE, and DAVONE GREENE
30 Broad Street, Suite 702
New York, NY 10004
(646) 524-6026

 
